         Case 4:20-cv-03919-CW          Document 580        Filed 12/12/24      Page 1 of 2



 Grant House, Sedona Prince & Nya Harrison
214 20th Street North, Suite 301                                                    FILE
 Birmingham, AL 35203

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December 2nd, 2024
                                                                                   CLERK, U.S. DISTRICT COURT
Senior District Judge Claudia Wilken                                            NORTHERN DISTRICT OF CALIFORNIA
United States District Court for the Northem District of California
Oakland Courthouse                                                ,   ^      ^^^ ^                I
1301 Clay Street                                               0/                         CW
Oakland, CA 94612

Dear Judge Wilken,

We, the college athlete plaintiffs and class representatives in the In Re College Athlete NIL
Litigation matter, express our gratitude for the landmark settlement agreement that has been
proposed to resolve the matter. If granted final approval, the settlement agreement's terms will
unlock billions of dollars for athletes past, present and future. This would be a monumental step
in recognizing our contributions to the financial success of college athletics, our universities,
their communities, and the many third parties that operate within the college athletics
ecosystem.


As plaintiffs and class representatives, we recognize that it is unusual to communicate directly
with the Court. We believe our class lawyers have done a magnificent job for college athletes in
effecting the proposed settlement, but we also recognize that they are limited in their ability to
effectuate the changes we intended to make in college athletics. We are writing to Your Honor
directly because you have played a critical role over the past decade in establishing and
protecting the rights of college athletes in a variety of ways.

While the proposed settlement is a significant step forward, there still remains a critical need for
structural changes to protect athletes and to prevent the failures of the past. College athletes
must have independent representation to standardize NIL compensation contracts they will be
entering into with their universities, to establish equitable minimum payments, to provide true
health protections, and to create an ecosystem where athletes can thrive, as the current system
is saturated with misaligned incentives that jeopardize the holistic development of the athletes
that drive it.


We need a players' association. After exploring existing options we believe Athletes.org(AO)is
the solution, therefore we have all become members. Here's why. AO has nearly 4000 college
athlete members and currently helps its members navigate critical issues like reviewing NIL
agreements, agent verification, and provides opportunities for our voices to be organized and
heard on the policies shaping our collegiate experience. Led by current college athletes who are
supported by a team of former athletes and esteemed legal counsel, AO is built to advocate for
us today. With a Board composed of sports industry experts like former coaches,
          Case 4:20-cv-03919-CW        Document 580        Filed 12/12/24      Page 2 of 2



commissioners, athletic directors, and media execs, we are able to get multiple perspectives on
issues that college athletics is faced with.

Currently, the NCAA, conferences, schools, and their respective collectives are using the
proposed settlement to define financial frameworks, consider restrictive contracts for athletes,
adjust rules that infringe on athletes' rights, and lobby Congress for an antitrust exemption.
While professional leagues include athletes in these decisions through their respective players
associations, the college system continues to prevent our players association from representing
us at the decision making tables. School leaders claim to "hear from athletes," but existing
mechanisms like Student Athlete Advisory Committees(SAAC)lack the resources, authority,
independence, and inclusion to truly represent college athletes on these issues.

Without independent, formal representation separate from schools or their affiliates, athletes will
inevitably remain in a vulnerable position, perpetuating the cycle of inequity and paving the way
for continued litigation.

AO provides the infrastructure to offer the collective voice, legal guidance and resources we
need to address these challenges constructively, ensuring a fair and sustainable future for
college athletics.

We respectfully ask the Court to lend its imprimatur to our efforts to ensure that college athletes
have a voice in building the structure of college athletics moving forward. Additionally, we
request that this letter be made part of the case record to highlight the importance of these
issues.


If the Court has any questions, the undersigned plaintiffs would be happy to respond.

Thank you for your continued commitment to justice and equity for college athletes.

Respectfully,
Grant House, Sedona Prince, Nya Harrison
